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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA



                                                             Case No.: 1:23-md-3076-KMM
    In RE:

    FTX CRYPTOCURRENCY EXCHANGE
    COLLAPSE LITIGATION

   THIS DOCUMENT RELATES TO: ALL CASES

                              MOTION TO WITHDRAW APPEARANCE OF
                               ATTORNEY ELIZABETH A. GREENMAN

          Pursuant to LCvR 11.1(d), Elizabeth A. Greenman of Latham & Watkins LLP hereby

   requests to withdraw as counsel for Defendants: Thomas Brady, Shaquille O’Neal, Gisele

   Bündchen and Lawrence Gene David (referred to as ”Defendants”), in the above-captioned

   proceedings. As of February 16, 2024, Elizabeth A. Greenman will no longer be affiliated with

   Latham & Watkins LLP. Defendants will continue to be represented by the firms Latham &

   Watkins LLP and Colson Hicks Eidson.

          WHEREFORE, Ms. Greenman respectfully requests to be removed from the service list

   and that she be relieved from any further responsibilities in this cause.



   Dated: February 22, 2024                   Respectfully submitted,
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                                           Bundchen and Lawrence Gene David




                                   CERTIFICATE OF SERVICE


          I hereby certify that on February 22, 2024, I caused a true and correct copy of the

   foregoing Motion to Withdraw Appearance of Attorney Elizabeth A. Greenman and Proposed

   Order to be served on all Counsel of Record via the Court’s CM/ECF system.


                                                      By: /s/ Roberto Martinez.
                                                        Roberto Martínez
